AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Ciy, P. 4(@))

This summons and the attached complaint for (name of individual and title, if any):
—F Wa7

were received by me on (date) (D- | C3

x I personally served the summons and the attached complaint on the individual at (place):

N2US5_ CoxferT RD  Kewocllg wi S3lty
LAT AA Bo, \GCLBS Save Nap On (date) (O-(4 -%3 - ; or G23 AX

LC] I left the summons and the attached complaint at the individual’s residence or usual place of abode with (name)
__, 4 person of suitable age and discretion who resides there,
on (date) and mailed a copy to the individual’s last known address; or

C] I served the summons and the attached complaint on (name of individual)

who is designated by law to accept service of process on behalf of (name of organization)

on (date) a ; or
L] I returned the summons unexecuted because Se . a > or
C] Other (specify): _
Myfeesare$ = ————sfortraveland$ =, —S_—C_s for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: ) O~ly 23 - a Ch

Server's signature

x¥ EE Hove 2A) “Teecess Seed

Printed name and title

(SBS 24674 por Ge, &

Server's address

Additional information regarding attempted service, etc.:

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